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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              )
In the Matter of the                          )
Federal Bureau of Prisons’ Execution          )
Protocol Cases,                               )
                                              )
LEAD CASE: Roane et al. v. Barr               )         Case No. 19-mc-145 (TSC)
                                              )
                                              )
THIS DOCUMENT RELATES TO:                     )
                                              )
Lee v. Barr, et al., 19-cv-2559               )
Purkey v. Barr, et al., 19-cv-03214           )
Nelson v. Barr, et al., 20-cv-557             )

                       DEFENDANTS’ RESPONSE TO PLAINTIFFS’
                       NOTICES OF SUPPLEMENTAL AUTHORITY
       Defendants respectfully submit this response to Plaintiffs’ notices of supplemental

authority regarding (1) the government’s declaration filed today in Hartkemeyer v. Barr, No. 2:20-

cv-00336-JMS-MJD, ECF No. 77-1 (S.D. Ind. July 12, 2020), and (2) the Seventh Circuit’s

decision in Peterson v. Barr, No. 20-2252 (7th Cir. July 12, 2020).

       First, in Hartkemeyer, spiritual advisors for Wesley Purkey and Dustin Honken sought a

preliminary injunction barring the inmates’ executions on the grounds that BOP’s decision to

schedule the executions for July 15 and July 17, respectively, is arbitrary and capricious under the

Administrative Procedure Act (“APA”), 5 U.S.C. § 701 et seq., and violates the spiritual advisors’
rights to religious exercise under the Religious Freedom Restoration Act of 1993 (“RFRA”), 42

U.S.C. § 2000bb et seq. See generally, e.g., Case No. 2:20-cv-00336, ECF Nos. 7 & 61. Neither

claim has any bearing on the case now pending before this court, which implicates neither BOP’s

scheduling decision nor any religious liberty claims.

       Contrary to Plaintiffs’ contention, the government’s updated declaration in Hartkemeyer

regarding one new COVID-19 positive test result for a staff member at USP Terre Haute does not

affect their claims here.    As explained in the government’s opposition to the preliminary
injunction, Plaintiffs alleged nothing in their amended complaint about the pandemic’s effect on
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their access to counsel. See Defs.’ Opposition to Motion for Prelim. Injunction at 42 (“Defs.’

Opp.”), ECF No. 111. Plaintiffs’ assertions that they could contract COVID-19, and that it could

cause “lung-related complications” during their executions, see Notice at 2, are entirely speculative

and provide no basis for injunctive relief, see Defs.’ Opp. at 43. If anything, BOP’s prompt

removal of the only Terre Haute staff member to test positive in recent days confirms the rigor of

its virus-containment efforts.

       Second, as Plaintiffs informed the court, the Seventh Circuit has explained tonight that

claims regarding witnesses’ unwillingness to travel due to the pandemic provide no basis to halt

an execution. See Peterson v. Barr, slip op., No. 20-2252 (7th Cir. July 12, 2020). The Seventh

Circuit vacated an injunction entered on that basis, deeming the claim “frivolous.” See id. at 4, 6.

Plaintiffs’ suggestion that this Court should enjoin the execution for which the Seventh Circuit just

cleared the way based on generalized concerns regarding the pandemic are meritless; an injunction

entered on that basis would warrant immediate vacatur by the appellate courts.

       The Court has asked the parties to keep it apprised of relevant developments, and the

government accordingly emphasizes to the Court that there are currently no legal impediments to

the execution of Daniel Lewis Lee at 4 pm tomorrow. BOP has undertaken extensive preparations

for that execution, including the transportation of contractors and witnesses to Terre Haute, and

the United States is ready to carry out the execution in a dignified and humane manner at the
scheduled time. Any “[l]ast-minute” injunction from this or any other court would be wholly

improper at this time, both on the merits and the equities (for the reasons the government has

explained at length in filings before this Court) and especially on the equities now that the

execution is less than 24 hours away. Bucklew v. Precythe, 139 S. Ct. 1112, 1134 (2019); see id.

(noting that last-minute impediments to scheduled executions should be an “extreme exception”).

If the Court intends to issue a ruling on Mr. Lee’s motions before his execution, the government

repeats its request that the Court do so as quickly as possible on all remaining issues, so that the

parties may use whatever limited time remains available to consider pursuing any appropriate
appellate review. If the Court were to enjoin the execution at this point, the government would

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immediately seek relief in the D.C. Circuit and the Supreme Court, with the intent to obtain a stay

or vacatur in time to carry out the execution as scheduled.




Dated: July 12, 2020

Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
       I hereby certify that on July 12, 2020, I caused a true and correct copy of foregoing to be

served on all counsel of record via the Court’s CM/ECF system. Pursuant to this Court’s August

20, 2019 Order, below is a list of all Plaintiffs’ counsel of record (as most recently identified in

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